             Case 2:07-cr-00570-KJM Document 289 Filed 12/13/11 Page 1 of 3


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 5   Attorney for: John Conn
 6
 7
 8             IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11
12
     UNITED STATES OF AMERICA,             )       Case No. 07-CR- 570 FCD
13                                         )
14                      Plaintiff,         )       APPLICATION FOR A COURT
                                           )       ORDER TO EXONERATE AND
15
                 v.                        )       RECONVEY PROPERTY
16                                         )       BOND
17
     John CONN,                            )
                                           )
18                      Defendant.         )       Honorable Kendall J. Newman
19                                         )
                                           )
20
21         The defendant, John Conn, by and through his undersigned counsel,
22
     William E. Bonham, requests that the Court order the $300,000.00 appearance
23
24   bond secured by his father’s property be exonerated and the title to said property
25
     located at 95 Lum Street, Weott, CA 95571, be reconveyed back to the property’s
26
27   owner, Milton Conn.
28


                                               1
             Case 2:07-cr-00570-KJM Document 289 Filed 12/13/11 Page 2 of 3



 1          On December 20, 2007 Mr. Conn was indicted along with 4 co-defendants
 2   for possession with intent to distribute marijuana in violation of 21 U.S.C. § 846
 3
     841(a)(1).
 4
 5          On March 3, 2010 Mr. Conn plead guilty to Count 1 of the Indictment.
 6
            At Judgment and Sentencing on September 19, 2011 Mr. Conn was
 7
 8   sentenced on Count 1 to 28 months imprisonment. He was ordered to self-
 9
     surrender by 2:00 pm on October 31, 2011 to the designated institution or the
10
11   USM.
12
            On October 11, 2011 this court signed an order extending Mr. Conn’s self-
13
14   surrender date to December 5, 2011 by 2:00 pm.

15          Pursuant to the courts order Mr. Conn surrendered himself to Jesup FCI, as
16
     designated by the BOP, on December 5, 2011. A review of the BOP’s inmate
17
18   locator now reflects Mr. Conn’s location as Jesup FCI and a projected release date
19
     of December 11, 2013.
20
21          As Mr. Conn’s surrender represents the conclusion of his criminal
22
     proceedings in the above captioned matter, it is requested at this time that the
23
24   Court order the $300,000.00 appearance bond secured by his father’s property
25
     exonerated and the title of the property reconveyed to the owner, Milton Conn.
26
27
28


                                               2
             Case 2:07-cr-00570-KJM Document 289 Filed 12/13/11 Page 3 of 3



 1
 2   Dated: December 6, 2011
 3
 4
                                                  By:/s/ WILLIAM E. BONHAM for
 5                                                WILLIAM E. BONHAM
 6                                                Counsel for Defendant
                                                  JOHN CONN
 7
 8
 9
10
11                                        ORDER
12
           IT IS SO ORDERED THAT THE $300,000.00 appearance bond secured by
13
14   Mr. Conn’s father’s property is exonerated and the title to the property located at
15   95 Lum Street, Weott, CA 95571, is to be reconveyed back to the property’s
16
     owner, Milton Conn.
17
18   Dated: December 12, 2011
19
                                                  /s/ Kendall J. Newman
20
                                                  HON. KENDALL J. NEWMAN
21                                                U.S. MAGISTRATE JUDGE
22
23
24
25
26
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